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                                 CENTRAL DISTRICT OF CALIFORNIA

JEFF DUNHAM, as an individual and in his
capacity as TRUSTEE OF THE JEFF DUNHAM
TRUST DATED MARCH 24, 2010


                                                                  2:20-CV-03716 -DMG (MAAx)
RAYMOND LEI, an individual; OOSHIRTS, INC.,
d/b/a TEECHIP and TEECHILI; and DOES 1-50




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                                                          Kiry K. Gray



       04/23/2020
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                                      Raymond Lei
